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14

15                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN FRANCISCO DIVISION

17   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
     LITIGATION
18                                                              MDL No. 1917
19   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
20                                                              PLAINTIFFS’ ADMINISTRATIVE
     ALL INDIRECT PURCHASER ACTIONS                             MOTION TO FILE DOCUMENTS
21                                                              RELATED TO PLAINTIFFS’
     Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,        OPPOSITION TO THE TOSHIBA
     et al., No. 11-cv-01656;                                   DEFENDANTS’ MOTION FOR
22
                                                                SUMMARY JUDGMENT
     Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;          CONCERNING WITHDRAWAL
23
                                                                UNDER SEAL PURSUANT TO
     Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al., No.   CIVIL LOCAL RULES 7-11, 79-5(b),
24   11-cv-05513;                                               AND 79-5(e)
25   Target Corp., et al. v. Chunghwa Picture Tubes,
     Ltd., et al., No. 11-cv-05514;
26
     Sears, Roebuck and Co., et al. v. Chunghwa
27   Picture Tubes, Ltd., et al., No. 11-cv-05514-SC;
28

                     [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER
                  SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5 (CASE NO. 07-5944-SC; MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3282-51 Filed 12/23/14 Page 2 of 3




 1   Interbond Corporation of America v. Hitachi, et
     al., No. 11-cv-06276;
 2
     Office Depot, Inc. v. Hitachi, Ltd., et al.,
 3   No. 11-cv-06276;
 4   Sharp Elecs. Corp. v. Hitachi, Ltd.,
     No. 13-cv-01173;
 5
     CompuCom Systems, Inc. v. Hitachi, Ltd. et al., No.
 6   11-cv-06396;
 7   Costco Wholesale Corp. v. Hitachi, Ltd., et al., No.
     11-cv-06397;
 8
     P.C. Richard & Son Long Island Corp., et al. v.
 9   Hitachi, Ltd., et al., No. 12-cv-02648;
10   Schultze Agency Services, LLC v. Hitachi, Ltd., et
     al., No. 12-cv-02649;
11
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
12   13-cv-00157;
13   ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     et al., No. 3:14-cv-02510
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                     [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER
                  SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5 (CASE NO. 07-5944-SC; MDL NO. 1917
           Case 4:07-cv-05944-JST Document 3282-51 Filed 12/23/14 Page 3 of 3




 1                 Upon consideration of Plaintiffs’ Administrative Motion to File Documents Related to

 2   Plaintiffs’ Opposition to the Toshiba Defendants’ Motion for Summary Judgment Concerning

 3 Withdrawal Under Seal Pursuant to Civil Local Rules 7-11, 79-5(b), and 79-5(e), submitted in

 4 connection with Plaintiffs’ Opposition to the Toshiba Defendants’ Motion for Summary Judgment

 5 Concerning Withdrawal (“Withdrawal MSJ Opposition”), and any declarations in support of Plaintiffs’

 6 Sealing Motion subsequently submitted for the Court’s consideration by the Designating Party or Parties

 7 pursuant to Civil Local Rule 79-5(e)(A)(1), and good cause appearing therefor, it is hereby:

 8                 ORDERED that the Administrative Motion is GRANTED; and it is further

 9                 ORDERED that the Clerk shall file and maintain under seal the portions of Plaintiffs’

10 Withdrawal MSJ Opposition as specified in the table below, and Exhibits 1-34 and 36-48 attached to the

11 Declaration of Gary R. Carney in Support of Plaintiffs’ Withdrawal MSJ Opposition.

12
                           DOCUMENT                           PAGE:LINE REF. OR EXHIBIT NOS.
13
           Plaintiffs’ Withdrawal MSJ Opposition          2:7-11 and 17-23
14                                                        3:1-2
                                                          4:6-8 and 11-25
15                                                        5:1-17
                                                          5:19 – 6:6
16                                                        6:8-18 and 21-28
                                                          7:8-23 and 27-28
17                                                        8:2-28
                                                          9:3-6 and 9-24
18                                                        10:1 – 11:17
                                                          11:21-23 and 25-28
19                                                        12:1-4
                                                          15:20-22
20                                                        16:1-3 and 20-27
                                                          17:12-22
21                                                        18:16-19
                                                          21:9-18
22
           Declaration of Gary R. Carney in Support       Exhibits 1-34 and 36-48
23         of Plaintiffs’ Withdrawal MSJ Opposition

24   IT IS SO ORDERED.
25

26               DATED:                        ,         _________________________________
27                                                                 HON. SAMUEL CONTI
                                                              UNITED STATES DISTRICT JUDGE
28
                                                        -1-
                    [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER
                 SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5 (CASE NO. 07-5944-SC; MDL NO. 1917
